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16
                         IN THE UNITED STATES DISTRICT COURT
17
                               FOR THE DISTRICT OF ARIZONA
18
19   United States of America,                               No. CR-18-422-PHX-SMB
20                        Plaintiff,
                                                         UNITED STATES’ MOTION TO
21            v.                                          PRECLUDE DEFENDANTS’
                                                             NOTICED EXPERTS
22
     Michael Lacey, et al.,
23
                          Defendants.
24
25         The government moves to preclude Defendants’ noticed experts from testifying at
26   trial. Defendants’ expert witness disclosure is deficient, both under Rule 16 and Rules of
27   Evidence 702, 703, and 705. Defendants attempt to explain away this deficiency by
28   blaming the government, but those excuses are unavailing. Even if Defendants could

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 1   rectify their deficient notice, many of the experts are irrelevant in light of various rulings
 2   by the Court. Finally, Defendants have filed a placeholder for several additional expert
 3   witnesses, but have not yet disclosed the requisite information under the applicable rules.
 4   For these reasons, Defendants’ experts should be precluded.
 5                   MEMORANDUM OF POINTS AND AUTHORITIES
 6   I.     Summary of Relevant Facts
 7          On December 14, 2018, the government timely noticed its expert witnesses. (Doc.
 8   422.) On March 14, 2019, Defendants filed their joint expert witness disclosure. (Doc.
 9   500.) The notice provided the names of six proposed experts and then listed four additional
10   subject matters of expert testimony without identifying any actual witnesses. (Id.) On
11   April 22, 2019, Defendant Spear filed a supplemental expert witness disclosure, identifying
12   Professor Eric Goldman, who would be expected to testify on certain aspects of content
13   moderation. (Doc. 538.) On June 17, 2019, the government filed its notice of rebuttal
14   expert witnesses. (Doc. 638.) In its rebuttal notice, the government identified four
15   additional experts. (Id.) Trial is scheduled for August 17, 2020. (Doc. 893.)
16   II.    Law and Argument
17          Rule 16 governs expert disclosures.         The government’s obligations include
18   disclosing to Defendants a written summary of any testimony it intends to use under Rules
19   702, 703, or 705. Fed. R. Crim. P. 16(a)(1)(G). The summary “must describe the witness’s
20   opinions, the bases and reasons for those opinions, and the witness’s qualifications.” Id.
21   Defendants have a parallel obligation under Rule 16(b)(1).
22          The purpose of this rule is to “minimize surprise that often results from unexpected
23   expert testimony, reduce the need for continuances, and to provide the opponent with a fair
24   opportunity to test the merit of the expert’s testimony through focused cross examination.”
25   Fed. R. Crim. P. 16, advisory committee notes (1993). A party who fails to comply with
26   its discovery obligations may be precluded from introducing the undisclosed evidence.
27   Fed. R. Crim. P. 16(d)(2)(C); see also United States v. Scholl, 166 F.3d 964, 972 (9th Cir.
28   1999) (testimony of defendant’s expert was irrelevant and district court did not abuse its


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 1   discretion in excluding testimony as confusing, inconsistent and misleading to jury). The
 2   admission or exclusion of expert testimony is committed to the broad discretion of the trial
 3   court. See Hamling v. United States, 418 U.S. 87, 108 (1974).
 4          Compliance with Rule 16 is necessary to enable a district court to make several
 5   determinations required by the Federal Rules of Evidence.         See Fed. R. Evid. 702.
 6   Specifically, compliance with Rule 16 facilitates the district court’s assessment of whether
 7   the expert testimony is helpful, whether the expert is qualified, and whether his or her
 8   testimony is relevant and reliable. The Supreme Court has noted that “[e]xpert evidence
 9   can be both powerful and quite misleading because of the difficulty in evaluating it,” which
10   is why trial courts will exclude expert testimony when its probative value is substantially
11   outweighed by the danger of unfair prejudice, confusion of the issues, or misleading of the
12   jury. Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 595 (1993). Further,
13   a defendant’s failure to follow “established rules of procedure and evidence designed to
14   assure both fairness and reliability in the ascertainment of guilt and innocence” may prompt
15   a court to curtail a defendant’s right to present evidence. Chambers v. Mississippi, 410
16   U.S. 284, 295 (1973); see also Taylor v. Illinois, 484 U.S. 400, 412 (1988) (“The court’s
17   preclusion sanction was an entirely proper method of assuring compliance with its order.”).
18          A.     Defendants’ Expert Witness Disclosures Are Deficient
19          Defendants’ expert witness disclosures (Docs. 500, 538) are deficient under the
20   applicable rules. Specifically, Defendants’ disclosures have failed to provide a summary
21   that describes the witnesses’ opinions, the bases and reasons for those opinions, and the
22   witnesses’ qualifications, as required under Rule 16(b)(1)(C). The government analyzes
23   each of Defendants’ noticed experts below.
24               i.       Bates Butler
25          Defendants intend to call Bates Butler—a former acting United States Attorney for
26   the District of Arizona—to testify on “informant/cooperating witness testimony and
27   sentencing.” (Doc. 500 at 4.) Defendants’ notice failed to provide a written summary of
28   Mr. Butler’s intended testimony. Likewise, no discovery or Rule 26.2 statements have


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 1   been disclosed. Without these disclosures, any analysis under Rule 702 is difficult. But,
 2   even if Defendants had complied with the applicable rules, Mr. Butler’s testimony should
 3   still be excluded. Testimony from a former AUSA about cooperating witnesses is a subject
 4   that a juror does not need help in understanding, which renders the expert testimony
 5   unnecessary.
 6          The Eighth Circuit found that this type of expert testimony inappropriate. United
 7   States v. Davis, 457 F.3d 817, 824 (8th Cir. 2006). In Davis, the defendant wanted to call
 8   a federal public defender to testify as an expert about “substantial assistance” and the
 9   “mechanics of the federal sentencing process.” Id. The defendant in Davis intended to
10   use the expert testimony “to impeach the credibility of the government’s cooperating
11   witnesses by calling into question [the witnesses’] motivation for testifying against [the
12   defendant], and thereby raising doubt as to the reliability of their testimony.” Id. In
13   affirming the district court’s ruling to exclude, the Eighth Circuit explained that:
14          The jury did not need expert testimony explaining the details of sentencing
            procedures to understand that the government’s witnesses might have an
15
            incentive to incriminate [the defendant]. Expert testimony is appropriate
16          when it relates to issues that are beyond the ken of people of ordinary
            intelligence. Where the subject matter is within the knowledge or experience
17          of laymen, expert testimony is superfluous.
18   Id. The same reasoning applies to Mr. Butler. The Court should preclude his testimony.
19               ii.      Roman L. Weil
20          Mr. Weil’s expected expert testimony pertains to the functions that a Chief Financial
21   Officer (CFO) performs in a corporate setting. (Doc. 500 at 4-5.) How Mr. Weil’s
22   testimony would be relevant to the facts presented at trial is left unexplained. What a CFO
23   typically does is not relevant, especially in light of the government’s allegations against
24   Backpage’s former CFO—Defendant Brunst.             The Superseding Indictment includes
25   numerous allegations that Brunst fully participated in and knew about Backpage’s business
26   practices to increase the volume of prostitution ads. (Doc. 230 ¶¶ 49, 57, 135, 138, 155,
27   157, 178, 179). In addition, Brunst was fully engaged in efforts to facilitate Backpage’s
28   concealment money laundering following the June 2015 credit card block. (Id. at ¶¶ 180,

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 1   181, 183, 187, 190.) Of course, the government will have the burden to prove these
 2   allegations at trial, but the critical question for the jury will be whether Brunst engaged in
 3   the alleged conspiracies, violated the Travel Act, and committed money laundering
 4   offenses. His guilt or innocence will be determined by the evidence presented against him.
 5   Testimony about a typical CFO’s duties have no bearing on the question before the jury.
 6          To the extent that Mr. Weil’s proposed testimony is some type of veiled attempt to
 7   comment on Brunst’s state of mind or his intent, such expert testimony is inappropriate and
 8   should be precluded. Hunton v. Am. Zurich Ins. Co., No. CV-16-00539-PHX-DLR, 2018
 9   WL 1182550, at *2 (D. Ariz. Mar. 7, 2018) (citing Siring v. Oregon State Bd. of Higher
10   Educ. ex rel. E. Oregon Univ., 927 F. Supp. 2d 1069, 1077 (D. Or. 2013)) (“Courts
11   routinely exclude as impermissible expert testimony as to intent, motive, or state of mind.
12   . . . The jury is sufficiently capable of drawing its own inferences . . . and permitted expert
13   testimony on this subject would be merely substituting the expert’s judgment for the jury’s
14   and would not be helpful for the jury.”).
15          Finally, Defendants have failed to provide a summary of testimony, any Rule 26.2
16   statements, or the information relied on by Mr. Weil to form the bases of his opinions. Mr.
17   Weil should be precluded.
18              iii.      Alexandra Levy, Dr. Alexandra Lutnick, Dr. Kimberly Mehlman-
19                        Orozco
20          Defendants have noticed these three experts for the same categories of testimony.

21   (Doc. 500 at 5-6.) These categories include: (1) the effect of imposing liability on

22   Backpage for advertisements placed by third parties; (2) the utility of online commercial

23   advertisements to law enforcement in identifying and rescuing victims of sex trafficking;

24   (3) sex trafficking and/or prostitution; (4) causation or lack thereof; (5) the practices of

25   Backpage, Craigslist, Facebook, Google, and other Internet providers, and (6) rebuttal

26   testimony. (Id.) At a minimum, three experts to testify about the exact same issues would

27   be cumulative.

28          Defendants fail to articulate the relevance any of these witnesses’ expected


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 1   testimony. The first category of their testimony is the “effect of imposing liability on
 2   Backpage for advertisements placed by third parties,” but that will not be the question
 3   before the jury. Instead, the government intends to prove the allegations in the Superseding
 4   Indictment, which include an array of internal business practices conducted by Defendants
 5   to increase the volume of prostitution ads. Backpage, for its part, has already pleaded guilty
 6   in the separate criminal case filed against Backpage and several related entities.
 7            The expected testimony of these three witnesses on this topic also appears at odds
 8   with the Court’s view of the allegations against Defendants. For example, the Court—in
 9   denying Defendants’ motion to dismiss based on the First Amendment—wrote, “The SI
10   does not allege Defendants are criminally liable because they unknowingly and
11   unintentionally operated a website used by third parties to post prostitution ads. Rather, it
12   alleges Defendants purposely sought out opportunities to increase prostitution advertising
13   on Backpage.” (Doc. 793 at 14.) The Court concluded, “[a]s alleged, Backpage’s efforts
14   to promote its website facilitated prostitution and were not protected business practices.”
15   (Id. at 14-15.) Given that fact, the testimony from these three witnesses on this topic does
16   not appear relevant.
17            The Court’s Order also articulates why Backpage is materially different from the
18   other internet platforms listed in the expert disclosure. Indeed, “the facts alleged in the SI
19   are qualitatively different than the protected activities” of these other companies. (Doc.
20   793 at 13.) Craigslist, for example, shuttered their adult category over ten years ago and
21   there was never any evidence that they engaged in the internal business practices detailed
22   in the Superseding Indictment. 1    Likewise, Facebook and Google never engaged in the
23   same insidious business practices as Backpage and, indeed, implemented true content
24   moderation to rid their site of pornography, expunged posts that were designed to facilitate
25   sexual encounters, and banned racist and inflammatory content. 2
26   1
         https://www.theregister.co.uk/2009/05/13/craigslist_closing_erotic_services_section/
27   2
      For example, Facebook as the following policy regarding sexual content: “As noted in
28   Section 8 of our Community Standards (Sexual Exploitation of Adults), people use
     Facebook to discuss and draw attention to sexual violence and exploitation. We recognize

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 1            In examining each of these witnesses individually, it appears that Dr. Lutnick takes
 2   the position that shutting down websites that are used to advertise sexual services is
 3   harmful to victims of sex trafficking. (See Lutnick Declaration dated June 27, 2018,
 4   attached as Ex. A.) 3 Dr. Lutnick has stated: “[S]hutting down websites that people use to
 5   advertise sexual services is extremely harmful to people experiencing trafficking in the sex
 6   industry. It will also be detrimental to people engaging in sex work, whether by choice or
 7   circumstance.” (Id. at ¶ 11.) Defendants have not explained the relevance of testimony
 8   that editorializes whether the government’s actions in shutting down Backpage are a net
 9   positive or negative to society as a whole. Again, this larger question will not be presented
10   to the jury, which will be focused on whether these six Defendants are guilty of the crimes
11   alleged in the Superseding Indictment.
12            Defendants have disclosed one article written by proposed expert witness Professor
13   Alexandra Levy. 4 In that article, Professor Levy takes the position that the recent passage
14   of the federal law known as FOSTA is unfavorable to sex workers. Again, whether or not
15   that federal legislation is beneficial or detrimental will not be a contested issue at trial.
16   Testimony on that issue is not relevant.
17            Finally, Defendants’ noticed expert witness Dr. Kimberly Mehlman-Orozco, has
18   written a number of articles on disparate topics. (Doc. 500-5 at 4-6.) None of her articles
19   or studies, however, have been disclosed, so the government is left to guess as to whether
20   her testimony is based on sufficient facts or data and is the product of reliable principles
21   and methods. Fed. R. Evid. 702.
22
23   the importance of and want to allow for this discussion. We draw the line, however, when
     content facilitates, encourages or coordinates sexual encounters between adults. We also
24   restrict sexually explicit language that may lead to solicitation because some audiences
     within our global community may be sensitive to this type of content and it may impede
25   the ability for people to connect with their friends and the broader community.” See
     https://www.facebook.com/communitystandards/introduction/
26   3
       The government located Dr. Lutnick’s declaration attached as Exhibit A; it was not
27   provided by Defendants.
     4
28    Technology & Marketing Law Blog 10-8-18 Constitutional Challenge to FOSTA
     Dismissed for Lack of Standing by Alex F. Levy (DEFENSE 000022-000025).

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 1          For these reasons, the testimony from these three experts should be precluded.
 2              iv.       William Norman
 3          Defendants describe Mr. Norman’s expert testimony in one sentence:            “The
 4   Defendants anticipate presenting expert testimony on the lawful formation of and lawful
 5   uses of offshore trusts.” (Doc. 500 at 6.) Without any additional information, the
 6   government cannot evaluate Mr. Norman’s anticipated testimony. The topic of “lawful
 7   uses of offshore trusts,” however, does not appear relevant. The government has alleged
 8   that Defendant Lacey wired $16.5 million in Backpage-derived cash from a bank account
 9   in the United States to an overseas bank account in Hungary. (Doc. 230 ¶ 16, Count 100.)
10   Before wiring that money, he wrote an email seeking assistance in “put[ting] some assets
11   in place[s] where . . . government parties . . . can not access my accounts.” (Id.) Similar
12   to Mr. Weil’s proposed testimony about the normal functions of a CFO, the lawful uses of
13   offshore accounts won’t be an issue the jury will need resolve.
14               v.       Eric Goldman
15          On April 22, 2019, Defendant Spear filed a supplemental expert witness disclosure
16   that disclosed one additional expert—Professor Eric Goldman. (Doc. 538.) The notice
17   suggests that Defendant Spear intends to call Mr. Goldman to testify about six topics that
18   all relate to how websites engage in content moderation. (Id. at 3-6.) The details provided
19   by Defendant Spear about Mr. Goldman’s testimony raise concerns.
20          Mr. Goldman appears to make an argument that is contrary to a ruling made by this
21   Court. Mr. Goldman’s intended testimony will include an argument that Section 230 does
22   not permit “federal criminal liability” when “an Internet service moderates content.” (Id.
23   at 5.) The Court, however, has ruled that Section 230 does not apply here, and “even if the
24   CDA applied to generally preclude charges under the Travel Act, Defendants do not
25   establish the CDA applies to their conduct as alleged by the Superseding Indictment.”
26   (Doc. 840 at 9.) Indeed, the “Superseding Indictment alleges conduct far beyond the simple
27   maintenance of neutral policies prohibiting certain conduct.” (Id. at 10.)
28


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 1            B.    Defendants’ Excuses for Failing to Comply with Expert Notice
                    Requirements Should be Rejected.
 2
              Defendants blame the government for why they failed to comply with Rule 16.
 3
     Specifically, Defendants argue that they couldn’t provide a complete expert disclosure
 4
     because (a) the government’s expert disclosure does not comply with Rule 16; (b) the
 5
     government’s discovery was incomplete; and (c) Defendants’ ability to retain experts was
 6
     hampered by the government’s seizures. (Doc. 500 at 3.) These arguments are unavailing.
 7
              Defendants provide nothing but a conclusory allegation about the government’s
 8
     purported Rule 16 deficiency. Beyond simply stating, “the government’s expert disclosure
 9
     does not comply with Rule 16,” Defendants are silent as to the nature of that deficiency.
10
     This conclusory argument finds no support. But, even if it were true, it is unclear how a
11
     Rule 16 deficiency by the government would affect Defendants’ ability to comply with the
12
     same rule.
13
              Defendants also blame the government’s purported lack of discovery for why their
14
     Rule 16 notice falls short. Defendants allude to a large amount of data that the government
15
     had not yet disclosed. (Doc. 500 at 3.) This isn’t accurate. The Court heard “fourteen
16
     hours of testimony” on the issue of the government’s disclosure of the Backpage website,
17
     and found that the government’s disclosure of electronic data fully complied with Rule 16.
18
     (Doc. 839.) The Court also previously rejected a similar argument by Defendants. (Doc.
19
     614.) 5 This argument cannot withstand scrutiny.
20
              Finally, Defendants argue that the government’s pretrial seizures “severely
21
     impaired” their ability to retain experts. (Doc. 500 at 3.) These seizures, of course, did not
22
     impact Defendants’ ability to retain Tami Loehrs or a subsequent computer forensics
23
     expert. Nor has it impeded several of the Defendants from engaging multiple law firms to
24
25   5
       The Court held: “Defendants argue that they should not have to comply with the
26   scheduling order because full disclosure has not been completed by the Government.
     However, as outlined in previous filings, the government has substantially complied with
27   the requirements of the scheduling order. They are continuing to disclose new materials as
     required under Rule 16 but that does not preclude Defense from meeting their obligations.
28   Defense will have continuing obligation to disclose, as well, but the initial disclosure
     should not be endlessly delayed.” (Id. at 1.)

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 1   represent them in this matter. Either way, trial is on the horizon and Defendants’ expert
 2   notices remain deficient.
 3          In that same vein, Defendants’ initial expert witness disclosure listed four additional
 4   subject matters of expert testimony without identifying any actual witnesses. Defendants’
 5   failure to supplement this disclosure and provide information that complies with Rule 16
 6   at this stage in the litigation indicates they have determined not to utilize expert witnesses
 7   for these subjects. Any attempt to disclose further experts at this juncture should not be
 8   countenanced.
 9   III.   Conclusion
10          Defendants’ expert witness disclosures are inadequate. Further, even if Defendants
11   complied with Rule 16, the anticipated testimony of these experts do not appear relevant
12   to the questions before the jury, and in some instances, counter to rulings made by the
13   Court. For these reasons, the Court should preclude these experts from testifying at trial.
14          Respectfully submitted this 17th day of April, 2020.
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 1
                                CERTIFICATE OF SERVICE
 2
 3         I hereby certify that on April 17, 2020, I electronically transmitted the attached
 4   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 5   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 6   as counsel of record.
     s/Zachry Stoebe
 7   U.S. Attorney’s Office
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